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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7        MUDPIE, INC.,                                      Case No. 20-cv-03213-JST
                                                          Plaintiff,
                                   8
                                                                                               ORDER GRANTING DEFENDANT’S
                                                   v.                                          MOTION TO DISMISS
                                   9

                                  10        TRAVELERS CASUALTY INSURANCE                       Re: ECF No. 11
                                            COMPANY OF AMERICA,
                                  11                      Defendant.
                                  12
Northern District of California
 United States District Court




                                  13            Before the Court is Defendant’s motion to dismiss. ECF No. 11. The Court will grant the

                                  14   motion.

                                  15   I.       BACKGROUND

                                  16            Plaintiff Mudpie, Inc. is a San Francisco retail store that sells children’s clothing, toys,

                                  17   housewares, books, and other goods. ECF No. 1 ¶ 26. Mudpie brings this putative class action on

                                  18   behalf of itself and other California retailers who purchased comprehensive business insurance

                                  19   from Defendant Travelers Casualty Insurance Company of America (“Travelers”), filed a claim

                                  20   for lost business income following California’s Stay at Home Order, and were denied coverage.

                                  21   Id. ¶ 43.

                                  22            The Stay at Home Order was issued in response to an outbreak of COVID-19, a novel

                                  23   strain of coronavirus. Id. ¶¶ 17, 24-25. On March 11, 2020, “the World Health Organization

                                  24   declared COVID-19 a global health pandemic based on existing and projected infection and death

                                  25   rates and concerns about the speed of transmission and ultimate reach of this virus.” Id. ¶ 19. At

                                  26   that time, “it was generally understood in the scientific and public health communities that

                                  27   COVID-19 was spreading through human-to-human transmission and could be transmitted by

                                  28   asymptomatic carriers.” Id. ¶ 17. Public health officials thus advised that social distancing – the
                                          Case 4:20-cv-03213-JST Document 51 Filed 09/14/20 Page 2 of 14




                                   1   maintenance of physical space between people – was needed to stop the transmission of COVID-

                                   2   19. Id. ¶¶ 17, 20, 22.

                                   3          On March 12, 2020, California Governor Gavin Newsom issued a statewide directive

                                   4   known as the Safer at Home Order, which required California residents “to heed any orders and

                                   5   guidance of state and local public health officials, including but not limited to the imposition of

                                   6   social distancing measures, to control the spread of COVID-19.” Id. ¶ 24. On March 19, 2020,

                                   7   the Governor issued a series of mandates known as the Stay at Home Order, which “requir[ed]

                                   8   retailers to cease in-person services.” Id. ¶ 25.

                                   9          Mudpie had purchased a “comprehensive commercial liability and property insurance”

                                  10   policy from Travelers “to insure against risks the business might face.” Id. ¶ 30. Mudpie alleges

                                  11   that its compliance with the government closure orders “result[ed] in substantial loss to business

                                  12   income” because its storefront became “useless and/or uninhabitable.” Id. ¶¶ 27, 59. On or about
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                                  13   April 27, 2020, Mudpie reported its loss of business income as of March 16, 2020, under its

                                  14   Travelers insurance policy. Id. ¶ 32.

                                  15          In May 2020, Travelers denied Mudpie’s insurance claim. Id. ¶ 33. Travelers took the

                                  16   position that Mudpie was not entitled to Business Income and Extra Expense coverage under its

                                  17   policy because “the limitations on [Mudpie’s] business operations were the result of the

                                  18   Governmental Order, as opposed to ‘direct physical loss or damage to property at the described

                                  19   premises.’” Id. In addition, Travelers found that Mudpie was not entitled to Civil Authority

                                  20   coverage because “the Governmental Order that affected [Mudpie’s] business was not issued due

                                  21   to ‘direct physical loss of or damage to property.’” Id. Finally, Travelers stated that the policy

                                  22   contained “an exclusion for ‘loss or damage caused by or resulting from any virus’ – such as the

                                  23   COVID-19 virus.” Id.

                                  24          Mudpie alleges three causes of action in its complaint. First, Mudpie seeks “a declaration

                                  25   for itself and similarly situated retailers that its business income losses are covered and not

                                  26   precluded by exclusions or other limitations in its comprehensive business insurance policy.”

                                  27   Id. ¶ 62. Second, Mudpie alleges that Travelers breached its contract by denying it comprehensive

                                  28   business coverage. Id. ¶ 69. Third, Mudpie alleges that Travelers breached the implied covenant
                                                                                           2
                                             Case 4:20-cv-03213-JST Document 51 Filed 09/14/20 Page 3 of 14




                                   1   of good faith and fair dealing by: (1) selling policies that appear to provide liberal coverage with

                                   2   the intent of interpreting ambiguous, undefined, and poorly defined terms to deny coverage;

                                   3   (2) unreasonably denying coverage by applying undefined, ambiguous, and contradictory terms

                                   4   contrary to applicable rules of policy construction and the plain terms and purpose of the policy;

                                   5   (3) denying Mudpie’s claim without conducting a fair, unbiased, and thorough inquiry;

                                   6   (4) misrepresenting policy terms; and (5) compelling policy holders to initiate litigation to recover

                                   7   policy benefits to which they are entitled. Id. ¶ 75.

                                   8             On June 3, 2020, Travelers filed a motion to dismiss Mudpie’s complaint. ECF No. 11.

                                   9   Mudpie opposes the motion, ECF No. 19, and Travelers has filed a reply, ECF No. 20.

                                  10   II.       JURISDICTION

                                  11             The Court has jurisdiction over this putative class action pursuant to 28 U.S.C.

                                  12   § 1332(d)(2) because the amount in controversy exceeds $5 million and at least one member in the
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                                  13   proposed class of over 100 members is a citizen of a state different from Travelers.1

                                  14   III.      LEGAL STANDARD

                                  15             A.     Motion to Dismiss

                                  16             A complaint must contain “a short and plain statement of the claim showing that the

                                  17   pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). “Dismissal under Rule 12(b)(6) is

                                  18   appropriate only where the complaint lacks a cognizable legal theory or sufficient facts to support

                                  19   a cognizable legal theory.” Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th

                                  20   Cir. 2008) (citation omitted). A complaint need not contain detailed factual allegations, but facts

                                  21   pleaded by a plaintiff must be “enough to raise a right to relief above the speculative level.” Bell

                                  22   Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). “To survive a motion to dismiss, a complaint

                                  23   must contain sufficient factual matter, accepted as true, to state a claim to relief that is plausible on

                                  24   its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation and internal quotation marks

                                  25   omitted). The Court must “accept all factual allegations in the complaint as true and construe the

                                  26   pleadings in the light most favorable to the nonmoving party.” Knievel v. ESPN, 393 F.3d 1068,

                                  27

                                  28   1
                                           Mudpie is a California resident, and Travelers is a Connecticut resident. ECF No. 1 ¶¶ 11, 12.
                                                                                           3
                                           Case 4:20-cv-03213-JST Document 51 Filed 09/14/20 Page 4 of 14




                                   1   1072 (9th Cir. 2005).

                                   2          B.      Insurance Policy Interpretation

                                   3          Under California law, the interpretation of an insurance contract is question of law for the

                                   4   courts.2 See Waller v. Truck Ins. Exch., Inc., 11 Cal. 4th 1, 18 (1995). “While insurance contracts

                                   5   have special features, they are still contracts to which the ordinary rules of contractual

                                   6   interpretation apply.” Bank of the W. v. Superior Court, 2 Cal. 4th 1254, 1264 (1992). “If

                                   7   contractual language is clear and explicit, it governs.” Id. In addition, “[t]he terms in an insurance

                                   8   policy must be read in context and in reference to the policy as a whole, with each clause helping

                                   9   to interpret the other.” Sony Comput. Entm’t Am. Inc. v. Am. Home Assurance Co., 532 F.3d

                                  10   1007, 1012 (9th Cir. 2008) (citing Cal. Civ. Code § 1641; Bay Cities Paving & Grading, Inc. v.

                                  11   Lawyers’ Mut. Ins. Co., 5 Cal. 4th 854, 867 (1993); Palmer v. Truck Ins. Exch., 21 Cal. 4th 1109,

                                  12   1115 (1999)). “[I]f the terms of a promise are in any respect ambiguous or uncertain, it must be
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                                  13   interpreted in the sense in which the promisor believed, at the time of making it, that the promisee

                                  14   understood it.” Bank of the W., 2 Cal. 4th at 1264-65 (quoting Cal. Civ. Code § 1649). “Only if

                                  15   this rule does not resolve the ambiguity do [courts] then resolve it against the insurer.” Id. at

                                  16   1265. California courts have cautioned that language in a contract “cannot be found to be

                                  17   ambiguous in the abstract,” and courts should “not strain to create an ambiguity where none

                                  18   exists.” Waller, 11 Cal. 4th at 18-19.

                                  19   IV.    DISCUSSION

                                  20          Travelers argues that Mudpie’s “factual allegations cannot satisfy the prerequisites for

                                  21   coverage under the Civil Authority, Business Income and Extra Expense” provisions in the

                                  22   insurance policy that Travelers issued to Mudpie.3 ECF No. 11 at 14. In addition, Travelers

                                  23   argues that the policy’s virus exclusion “clearly and unambiguously precludes coverage.” Id.

                                  24
                                       2
                                  25    The parties do not dispute that California law governs the underlying insurance policy. See ECF
                                       No. 11 at 15 n.4; ECF No 19 at 13 n.5.
                                  26
                                       3
                                         The insurance policy, ECF No. 11-2, is incorporated by reference. “Even if a document is not
                                  27   attached to a complaint, it may be incorporated by reference into a complaint if the plaintiff refers
                                       extensively to the document or the document forms the basis of the plaintiff’s claim.” United
                                  28
                                       States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
                                                                                         4
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                                   1          A.      Business Income and Extra Expense Coverage

                                   2          The parties dispute whether Mudpie’s allegations establish “a direct physical loss of”

                                   3   property as required by the Business Income and Extra Expense provisions in the insurance policy.

                                   4   The Business Income provisions state:

                                   5                  We will pay for the actual loss of Business Income you sustain due to
                                                      the necessary “suspension” of your “operations” during the “period
                                   6                  of restoration”. The “suspension” must be caused by direct physical
                                                      loss of or damage to property at the described premises. The loss or
                                   7                  damage must be caused by or result from a Covered Cause of Loss.
                                   8   ECF No. 11-2 at 72-73. Similarly, the Extra Expense provisions provide for payment of

                                   9   “reasonable and necessary expenses you incur during the ‘period of restoration’ that you would

                                  10   not have incurred if there had been no direct physical loss of or damage to property caused by or

                                  11   resulting from a Covered Cause of Loss.” Id. at 73 (emphasis added). “Covered Causes of Loss”

                                  12   are defined as “risks of direct physical loss,” subject to certain limitations and exclusions. Id. at
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                                  13   73-74 (emphasis omitted).

                                  14                  1.      Physical Alteration or Change to Property

                                  15          Mudpie claims that its inability to operate and occupy its storefront following the

                                  16   government closure orders is a direct physical loss of property covered by its insurance policy.

                                  17   ECF No. 19 at 14. Travelers argues that, in order to establish a “direct physical loss of” property,

                                  18   Mudpie must allege “a distinct, demonstrable, physical alteration of the property” or “a physical

                                  19   change in the condition of the property, i.e., it must have been ‘damaged’ within the common

                                  20   understanding of that term.” ECF No. 11 at 22-23 (quoting MRI Healthcare Ctr. of Glendale, Inc.

                                  21   v. State Farm Gen. Ins. Co., 187 Cal. App. 4th 766, 779-80 (2010)).

                                  22          The Court disagrees with Travelers’s broad conception of the language “direct physical

                                  23   loss of” property. Another district court within this Circuit recently rejected a nearly identical

                                  24   interpretation of this language. See Total Intermodal Servs. Inc. v. Travelers Prop. Cas. Co. of

                                  25   Am., No. CV 17-04908 AB (KSx), 2018 WL 3829767, at *3-4 (C.D. Cal. July 11, 2018). The

                                  26   plaintiff in Total Intermodal, who also held a Travelers insurance policy, filed a claim for cargo

                                  27   that had been mistakenly returned to China, where it became unrecoverable and was ultimately

                                  28   destroyed. Id. at *1. Travelers denied the claim and, in the ensuing lawsuit, it relied on MRI
                                                                                          5
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                                   1   Healthcare Center to argue that “direct physical loss of” property requires some damage or

                                   2   alteration to the property. Id. at *2, 4. The court disagreed, concluding that the phrase “direct

                                   3   physical loss to business personal property” in MRI Healthcare Center should be construed

                                   4   differently than “direct physical loss of” property in the Travelers insurance policy.4 Id. at *4

                                   5   (emphasis added). The court reasoned that “the ‘loss of’ property contemplates that the property is

                                   6   misplaced and unrecoverable, without regard to whether it was damaged.” Id. at *3. Furthermore,

                                   7   “to interpret ‘physical loss of’ as requiring ‘damage to’ would render meaningless the ‘or damage

                                   8   to’ portion of the same clause, thereby violating a black-letter cannon of contract interpretation—

                                   9   that every word be given a meaning.” Id. (citing Cal. Civ. Code § 1641). The court thus

                                  10   concluded that “loss of” could include “the permanent dispossession of something.” Id. at 4.

                                  11          As in Total Intermodal, the insurance policy here covers “direct physical loss of or damage

                                  12   to property.” ECF 11-2 at 72-73. In accordance with the reasoning in Total Intermodal, the Court
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                                  13   finds that the language of this provision, alone, does not require a “physical alteration of the

                                  14   property” or “a physical change in the condition of the property.” ECF No. 11 at 22-23 (citation

                                  15   omitted). Nevertheless, the facts at hand do not fall within the Total Intermodal court’s more

                                  16   expansive interpretation of “direct physical loss of property.” Although Mudpie has been

                                  17   dispossessed of its storefront, it will not be a “permanent dispossession” as with the lost cargo in

                                  18   Total Intermodal. See 2018 WL 3829767, at *4. When the Stay at Home orders are lifted,

                                  19   Mudpie can regain possession of its storefront. Mudpie’s physical storefront has not been

                                  20   “misplaced” or become “unrecoverable,” and neither has its inventory. See id. at *3.

                                  21          Moreover, while a “direct physical loss of” property does not require damage or physical

                                  22   alteration to the property, the surrounding provisions within Travelers’s insurance policy suggest

                                  23   that Mudpie’s inability to occupy its storefront does not fall within the Business Income and Extra

                                  24   Expense coverage of this policy. See Sony Comput., 532 F.3d at 1012 (“The terms in an insurance

                                  25

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                                       4
                                        The Total Intermodal court also found the that the phrase “direct physical loss” should be
                                       construed differently than “direct physical loss of.” Total Intermodal, 2018 WL 3829767, at *4.
                                  27   For this reason, Travelers’s reliance on Meridian Textiles, Inc. v. Indemnity Ins. Co. of N. Am., in
                                       which the insurance policy covered “physical loss or damage,” is misplaced. No. CV 06-4766
                                  28   CAS, 2008 WL 3009889, at *2, 3 (C.D. Cal. Mar. 20, 2008); see ECF No. 11 at 22-23.

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                                   1   policy must be read in context and in reference to the policy as a whole, with each clause helping

                                   2   to interpret the other.”). The insurance policy states that the “period of restoration” – applicable to

                                   3   both Business Income and Extra Expense coverage – “[b]egins 24 hours after the time of direct

                                   4   physical loss or damage” and “[e]nds on the date when the property . . . should be repaired, rebuilt

                                   5   or replaced with reasonable speed and similar quality.” ECF No. 11-2 at 84. The words

                                   6   ‘“[r]ebuild,’ ‘repair’ and ‘replace’ all strongly suggest that the damage contemplated by the Policy

                                   7   is physical in nature.” Philadelphia Parking Auth. v. Fed. Ins. Co., 385 F. Supp. 2d 280, 287

                                   8   (S.D.N.Y. 2005). But here, there is nothing to fix, replace, or even disinfect for Mudpie to regain

                                   9   occupancy of its property, which Mudpie admits in its opposition brief: “Mudpie’s loss is caused

                                  10   by state closure orders and thus will last for however long those restrictions remain.” ECF No. 19

                                  11   at 8.

                                  12                  2.      Intervening Physical Force
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                                  13           Mudpie cites several non-California cases for the proposition that the “loss of functionality

                                  14   of, or access to, a property,” such as Mudpie’s loss of functionality of its storefront, “constitutes a

                                  15   direct physical loss of property.”5 ECF No. 19 at 15. However, each of these cases involved an

                                  16   intervening physical force which “made the premises uninhabitable or entirely unusable.” See,

                                  17   e.g., Gregory Packaging, Inc. v. Travelers Prop. Cas. Co. of Am., No. 2:12-cv-04418

                                  18
                                       5
                                         Mudpie cites one unpublished California case in support of its argument, Universal Savings Bank
                                  19   v. Bankers Standard Insurance Co., No. B159239, 2004 WL 515952, at *6 (Cal. Ct. App. Mar. 17,
                                  20   2004), vacated, No. B159239, 2004 WL 3016644 (Cal. Ct. App. Dec. 30, 2004). Pursuant to
                                       California Rule of Court 8.1115 and Civil Local Rule 3-4(e), the Court may not consider this
                                  21   unpublished case. See Sarmiento v. Sealy, Inc., No. 18-CV-01990-JST, 2019 WL 3059932, at *6
                                       n.7 (N.D. Cal. July 12, 2019) (declining to apply unpublished California authority).
                                  22
                                       The Court notes that some district and appellate courts within the Ninth Circuit do consider
                                  23   unpublished California appellate authority. See, e.g., Daniel v. Ford Motor Co., 806 F.3d 1217,
                                  24   1223 n.3 (9th Cir. 2015) (“Even though unpublished California Courts of Appeal decisions have
                                       no precedential value under California law, the Ninth Circuit is not precluded from considering
                                  25   such decisions as a possible reflection of California law.”) (quotation and citation omitted). The
                                       clear text of Local Rule 3-4(e), however, forecloses such a result here. See Civ. L.R. 3-4(e) (“Any
                                  26   order or opinion that is designated: ‘NOT FOR CITATION,’ pursuant to Civil L.R. 7-14 or
                                       pursuant to a similar rule of any other issuing court, may not be cited to this Court, either in
                                  27   written submissions or oral argument, except when relevant under the doctrines of law of the case,
                                  28   res judicata or collateral estoppel.”) (emphasis in original).

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                                   1   (WHW)(CLW), 2014 WL 6675934, at *6-7 (D.N.J. Nov. 25, 2014) (finding that ammonia

                                   2   discharge inflicted “direct physical loss of or damage to” property where “there [was] no genuine

                                   3   dispute that the ammonia release physically transformed the air” within the premises and rendered

                                   4   it unusable); Manpower Inc. v. Ins. Co. of the State of Pa., No. 08C0085, 2009 WL 3738099, at *6

                                   5   (E.D. Wis. Nov. 3, 2009) (finding that the insured’s inability to access its property was a direct

                                   6   physical loss where the loss “was caused by a physical event—the [building] collapse—which

                                   7   created a physical barrier between the insured and its property”); Murray v. State Farm Fire &

                                   8   Cas. Co., 509 S.E.2d 1, 5, 17 (W.Va. 1998) (finding that “[l]osses covered by the policy, including

                                   9   those rendering the insured property unusable or uninhabitable, may exist in the absence of

                                  10   structural damage to the insured property” when a rockfall made plaintiffs’ homes uninhabitable).

                                  11          Indeed, numerous courts outside the Ninth Circuit have found that some outside physical

                                  12   force must have induced a detrimental change in the property’s capabilities before a plaintiff
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                                  13   alleging loss of use can establish a “direct physical loss of property.” See, e.g., Pentair, Inc. v.

                                  14   Am. Guarantee & Liab. Ins. Co., 400 F.3d 613, 616 (8th Cir. 2005) (rejecting the argument “that

                                  15   direct physical loss or damage is established whenever property cannot be used for its intended

                                  16   purpose”); Ne. Ga. Heart Ctr., P.C. v. Phx. Ins. Co., No. 2:12-CV-00245-WCO, 2014 WL

                                  17   12480022, at *6 (N.D. Ga. May 23, 2014) (listing cases where “the reviewing court required some

                                  18   outside physical force to have induced a detrimental change in the property’s capabilities” to

                                  19   award pure loss-of-use damages). For instance, in Western Fire Insurance Co. v. First

                                  20   Presbyterian Church the Supreme Court of Colorado determined that a direct physical loss had

                                  21   occurred when the insured, acting upon the orders of the fire department, closed the church

                                  22   building because gas had infiltrated the soil underneath it. 437 P.2d 52, 54-55 (Colo. 1968). The

                                  23   court clarified that “the so-called ‘loss of use’ of the church premises, standing alone, d[id] not in

                                  24   and of itself constitute a ‘direct physical loss.’” Id. at 55. Rather, the direct physical loss resulted

                                  25   from the “accumulation of gasoline around and under the church building,” which made further

                                  26   use of the building highly dangerous. Id. The California Court of Appeal reinforced the Western

                                  27   Fire court’s reasoning, noting that Western Fire “does not stand for the proposition that loss of

                                  28   intangible property can constitute a physical loss.” Ward Gen. Ins. Servs., Inc. v. Emps. Fire Ins.
                                                                                          8
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                                   1   Co., 114 Cal. App. 4th 548, 558 (Cal. Ct. App. 2004). Rather, “[a] physical loss occurred when

                                   2   the foundations became saturated with gasoline.” Id.

                                   3          Finally, a court in Michigan recently held that allegations of “a loss of business due to

                                   4   executive orders shutting down [] restaurants for dining” in response to the COVID-19 pandemic

                                   5   were insufficient to establish “direct physical loss of or damage to” the property. Gavrilides

                                   6   Mgmt. Co. v. Mich. Ins. Co., Case No. 20-258-CB-C30 (Mich. Cir. Ct. July 1, 2020); ECF No. 21-

                                   7   1 at 19-20.6

                                   8          Similar to the plaintiff in Gavrilides, Mudpie does not allege that “Covid-19 entered the

                                   9   [property] through any employee or customer.” ECF No. 21-1 at 19; see ECF No. 19 at 21 (noting

                                  10   that “the complaint nowhere states that Mudpie was closed because its employees became sick or

                                  11   coronavirus was discovered on the property”). Rather than alleging that COVID-19 or any other

                                  12   physical impetus caused the loss of functionality of its storefront, Mudpie alleges that its “loss is
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                                  13   caused by government closure orders and thus will last for however long those restrictions

                                  14   remain.” ECF No. 19 at 8, 2; see ECF No. 1 ¶ 27. Because Mudpie’s complaint contains no

                                  15   allegations of a physical force which “induced a detrimental change in the property’s capabilities,”

                                  16   the Court finds that Mudpie has failed to establish a “direct physical loss of property” under its

                                  17   insurance policy.7 See Ne. Ga. Heart Ctr., 2014 WL 12480022, at *6.

                                  18          Following the conclusion of briefing, Mudpie submitted as supplemental authority the

                                  19   opinion in Studio 417, Inc. v. Cincinnati Insurance Co., No. 20-CV-03127-SRB, 2020 WL

                                  20   4692385 (W.D. Mo. Aug. 12, 2020). Like Mudpie, plaintiffs in that case were businesses (a hair

                                  21   salon and several restaurants) who sought coverage for losses incurred when their businesses were

                                  22

                                  23   6
                                         At the time this order was issued, only the official court transcript was available, which is located
                                       at ECF No. 21-1.
                                  24
                                       7
                                  25     Had Mudpie alleged the presence of COVID-19 in its store, the Court’s conclusion about an
                                       intervening physical force would be different. SARS-CoV-2 – the coronavirus responsible for the
                                  26   COVID-19 pandemic, which is transmitted either through respiratory droplets or through aerosols
                                       which can remain suspended in the air for prolonged periods of time – is no less a “physical force”
                                  27   than the “accumulation of gasoline” in Western Fire or the “ammonia release [which] physically
                                       transformed the air” in Gregory Packaging. See Western Fire, 437 P.2d at 55; Gregory
                                  28   Packaging, 2014 WL 6675934, at *6.

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                                   1   impacted by the COVID-19 pandemic. Id. at *1-2. Plaintiffs there also alleged that business

                                   2   closure orders issued by civil authorities required them to cease or reduce their business

                                   3   operations. Id. at *2. Unlike Mudpie, however, plaintiffs also claimed that the presence of the

                                   4   COVID-19 virus inside their establishments made them unusable. Id. (“Plaintiffs allege that over

                                   5   the last several months, it is likely that customers, employees, and/or other visitors to the insured

                                   6   properties were infected with COVID-19 and thereby infected the insured properties with the

                                   7   virus. Plaintiffs allege that COVID-19 ‘is a physical substance,’ that it ‘live[s] on’ and is ‘active

                                   8   on inert physical surfaces,’ and is ‘emitted into the air.’ Plaintiffs further allege that the presence

                                   9   of COVID-19 ‘renders physical property in their vicinity unsafe and unusable,’ and that they

                                  10   ‘were forced to suspend or reduce business at their covered premises.’”) (citations omitted).

                                  11   Based on the latter allegations, the Studio 417 court found that plaintiffs had plausibly alleged a

                                  12   covered loss:
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                                  13                   Plaintiffs have adequately alleged a direct physical loss. Plaintiffs
                                                       allege a causal relationship between COVID-19 and their alleged
                                  14                   losses. Plaintiffs further allege that COVID-19 “is a physical
                                                       substance,” that it “live[s] on” and is “active on inert physical
                                  15                   surfaces,” and is also “emitted into the air.” COVID-19 allegedly
                                                       attached to and deprived Plaintiffs of their property, making it “unsafe
                                  16                   and unusable, resulting in direct physical loss to the premises and
                                                       property.” Based on these allegations, the Amended Complaint
                                  17                   plausibly alleges a “direct physical loss” based on “the plain and
                                                       ordinary meaning of the phrase.”
                                  18
                                  19   Id. at *4 (citations omitted). Mudpie makes no similar allegation here. It does not allege, for
                                  20   example, that the presence of the COVID-19 virus in its store created a physical loss. Rather, its
                                  21   sole focus is on the shelter-in-place orders that have prevented it from opening, a distinctly less
                                  22   physical phenomenon. ECF No. 1 ¶ 27 (“Compliance with those orders has caused direct physical
                                  23   loss of Mudpie’s insured property in that the property has been made useless and/or uninhabitable;
                                  24   and its functionality has been severely reduced if not completely or nearly eliminated.” (emphasis
                                  25   added)). Accordingly, Studio 417 does not assist Mudpie.
                                  26          The Court’s conclusion is further supported by the policy’s provision which states that
                                  27   Travelers “will not pay for loss or damage caused by or resulting from . . . loss of use or loss of
                                  28   market.” ECF No. 11-2 at 94. The separate provision for loss of use suggests that the “direct
                                                                                          10
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                                   1   physical loss of . . . property” clause was not intended to encompass a loss where the property was

                                   2   rendered unusable without an intervening physical force. The provision also undermines

                                   3   Mudpie’s claim that “a reasonable purchaser of insurance would read the policy as providing

                                   4   coverage for a loss of functionality.”8 See ECF No. 19 at 14. Thus, because Mudpie fails to allege

                                   5   any intervening physical force beyond the government closure orders, the Court finds that Mudpie

                                   6   is not entitled to Business Income or Extra Expense coverage under the terms of its policy.

                                   7          B.       Civil Authority Coverage

                                   8          Travelers’s Civil Authority coverage provision extends Business Income and Extra

                                   9   Expense coverage to insure losses. The provision states:

                                  10                   When the Declarations show that you have coverage for Business
                                                       Income and Extra Expense, you may extend that insurance to apply
                                  11                   to the actual loss of Business Income you sustain and reasonable and
                                                       necessary Extra Expense you incur caused by action of civil authority
                                  12                   that prohibits access to the described premises. The civil authority
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                                                       action must be due to direct physical loss of or damage to property at
                                  13                   locations, other than described premises, that are within 100 miles of
                                                       the described premises, caused by or resulting from a Covered Cause
                                  14                   of Loss.
                                  15   ECF No. 11-2 at 85. Travelers argues that Mudpie is not entitled to Civil Authority coverage
                                  16   because Mudpie cannot establish that the civil authority action – the closure orders in this case –
                                  17   were issued “due to direct physical loss of or damage to” any property. ECF No. 11 at 19-21. The
                                  18   Court agrees.
                                  19          Under the Civil Authority provision, Mudpie must establish the “requisite causal link
                                  20   between damage to adjacent property and denial of access” to its store. Syufy Enters. v. Home Ins.
                                  21   Co. of Ind., No. 94-0756 FMS, 1995 WL 129229, at *2 (N.D. Cal. Mar. 21, 1995); see also Dickie
                                  22   Brennan & Co. v. Lexington Ins. Co., 636 F.3d 683, 686 (5th Cir. 2011) (finding that civil
                                  23

                                  24   8
                                         Mudpie argues that the insurance policy’s definition of “property damage” as “[l]oss of use of
                                       tangible property that is not physically injured” “supports the conclusion that a reasonable
                                  25   purchaser of insurance would read the policy as providing coverage for a loss of functionality.”
                                       ECF No. 19 at 14. However, Mudpie itself acknowledges that the property damage definition to
                                  26   which it refers is “not in the businessowners coverage part” of the insurance policy, which
                                       provides Business Income and Extra Expense coverage. ECF No. 19 at 12. Rather, it appears in
                                  27   and is applicable to the commercial general liability section of the policy. See ECF No. 11-2 at
                                       33, 142.
                                  28
                                                                                        11
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                                   1   authority coverage requires a “causal link between prior property damage and the civil authority

                                   2   order”). In Syufy Enterprises, a theater owner closed his theaters in response to the curfew orders

                                   3   which were imposed by California civil authorities following the Rodney King verdict. 1995 WL

                                   4   129229, at *1. Finding that the curfews were not imposed “because of damage to adjacent

                                   5   property” but instead “to prevent ‘potential’ looting, rioting, and resulting property damage,” the

                                   6   court concluded that the theater owner was not entitled to civil authority coverage. Id. at *2-3; see

                                   7   also United Air Lines, Inc. v. Ins. Co. of State of Pa., 439 F.3d 128, 129, 134 (2d Cir. 2006)

                                   8   (affirming the district court’s denial of coverage under a similar civil authority provision where the

                                   9   government’s decision to halt airport operations on September 11, 2001 “was based on fears of

                                  10   future attacks” rather than prior physical damage to an adjacent property); S. Tex. Med. Clinics,

                                  11   P.A. v. CNA Fin. Corp., No. H-06-4041, 2008 WL 450012, at *10 (S.D. Tex. Feb. 15, 2008)

                                  12   (finding no coverage under an analogous civil authority provision where the government
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                                  13   evacuation order “was issued due to the anticipated threat of damage to the county and not due to

                                  14   property damage that had occurred”).

                                  15          Mudpie’s allegations establish that the government closure orders were intended to prevent

                                  16   the spread of COVID-19. See ECF No. 1 ¶ 24 (California’s Safer at Home Order was issued “to

                                  17   control the spread of COVID-19.”). Because the orders were preventative – and absent allegations

                                  18   of damage to adjacent property – the complaint does not establish the requisite causal link between

                                  19   prior property damage and the government’s closure order.

                                  20          That Mudpie’s opposition brief attempts to downplay its Civil Authority coverage

                                  21   allegations underscores the Court’s conclusion. Mudpie states that “[n]one of [its] claims seek

                                  22   recovery specifically under the civil authority extension” and that “[i]t need not invoke the civil

                                  23   authority extension to establish coverage under the policy.” ECF No. 19 at 17. Accordingly, the

                                  24   Court finds as a matter of law that Mudpie is not entitled to Civil Authority coverage.9

                                  25          C.      Dismissal of Each Cause of Action

                                  26          Mudpie’s first cause of action “seeks a declaration for itself and similarly situated retailers

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                                  28    Because Mudpie is not entitled to Civil Authority coverage, the Court need not consider
                                       Travelers’s additional argument that the virus exclusion bars such coverage. ECF No. 11 at 17-19.
                                                                                        12
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                                   1   that its business income losses are covered and not precluded by exclusions or other limitations in

                                   2   its comprehensive business insurance policy.” ECF No. 1 ¶ 62. Because Mudpie is not entitled to

                                   3   Business Income, Extra Expense, or Civil Authority coverage as a matter of law, see supra at

                                   4   IV.A-B, Mudpie’s first cause of action is dismissed.

                                   5           Mudpie’s second cause of action alleges that Travelers breached its contract by denying

                                   6   Mudpie comprehensive business insurance coverage. ECF No. 1 ¶ 69. The elements of a cause of

                                   7   action for breach of contract under California law are: “(1) the existence of the contract,

                                   8   (2) plaintiff’s performance or excuse for nonperformance, (3) defendant’s breach, and (4) the

                                   9   resulting damages to the plaintiff.” Oasis W. Realty, LLC v. Goldman, 51 Cal. 4th 811, 821

                                  10   (2011). “[A]bsent an actual withholding of benefits due, there is no breach of contract.” Love v.

                                  11   Fire Ins. Exch., 221 Cal. App. 3d 1136, 1151 n.10 (Cal. Ct. App. 1990) (citation and emphasis

                                  12   omitted). Because Mudpie has failed to allege that any “benefits due were withheld or delayed,” it
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                                  13   cannot allege a breach of contract. See id. at 1152. Mudpie’s second cause of action is therefore

                                  14   dismissed.

                                  15           Mudpie’s third cause of action alleges breach of the implied covenant of good faith and

                                  16   fair dealing. Under California law, a breach of the implied covenant of good faith and fair dealing

                                  17   in the insurance context has two elements: “(1) benefits due under the policy must have been

                                  18   withheld and (2) the reason for withholding benefits must have been unreasonable or without

                                  19   proper cause.” Love, 221 Cal. App. 3d at 1151. Because Mudpie has failed to allege that benefits

                                  20   were withheld, the “threshold requirement” for a bad faith claim has not been met. See id. at

                                  21   1151-52; see also Waller, 11 Cal. 4th 1 at 35 (affirming that a bad faith claim cannot be

                                  22   maintained unless policy benefits are due under the contract). Accordingly, Mudpie’s third cause

                                  23   of action is dismissed.

                                  24           Lastly, the Court dismisses Mudpie’s putative class claims. “[W]here the named plaintiffs

                                  25   have failed to state a claim in themselves for the relief they seek[,] . . . there is no occasion for the

                                  26   court to wrestle with the problems presented in considering whether the action may be maintained

                                  27   on behalf of the class.” Boyle v. Madigan, 492 F.2d 1180, 1182 (9th Cir. 1974).

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                                   1   V.      LEAVE TO AMEND

                                   2           Under Federal Rule of Civil Procedure 15(a), leave to amend is freely given when justice

                                   3   so requires. The Court may, however, “exercise its discretion to deny leave to amend due to

                                   4   ‘undue delay, bad faith or dilatory motive on part of the movant, repeated failure to cure

                                   5   deficiencies by amendments previously allowed, undue prejudice to the opposing party . . ., [and]

                                   6   futility of amendment.’” Carvalho v. Equifax Info. Servs., LLC, 629 F.3d 876, 892 (9th Cir.

                                   7   2010) (quoting Foman v. Davis, 371 U.S. 178, 182 (1962)). In this case, it seems doubtful that

                                   8   Mudpie could establish a “direct physical loss of . . . property” as the term is defined in its

                                   9   insurance policy for Business Income and Extra Expense coverage. Furthermore, Mudpie has

                                  10   failed to establish entitlement to Civil Authority coverage and admits that none of its claims “seek

                                  11   recovery specifically under the civil authority extension.” ECF No. 19 at 17. The Court also

                                  12   recognizes, however, that the law concerning business interruption coverage linked to the COVID-
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                                  13   19 pandemic is very much in development. Accordingly, the Court will dismiss the complaint

                                  14   without prejudice and grant leave to amend.

                                  15                                              CONCLUSION

                                  16           For the foregoing reasons, the Court grants Travelers’s motion to dismiss without

                                  17   prejudice. Mudpie may file an amended complaint solely to correct the deficiencies identified in

                                  18   this order. An amended complaint is due 21 days from the date of this order. If no amended

                                  19   complaint is filed, the Court will dismiss the case with prejudice.

                                  20           IT IS SO ORDERED.

                                  21   Dated: September 14, 2020
                                                                                         ______________________________________
                                  22
                                                                                                       JON S. TIGAR
                                  23                                                             United States District Judge

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